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                                 UNITED STATES DISTRICT COURT
 1
                                         DISTRICT OF NEVADA
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 3
      DULCE INZUNZA, an individual,                             Case No. 2:20-cv-01555-KJD-BNW
 4
                            Plaintiff,
 5                                                                           ORDER
            v.
 6
      CLEARCAPTIONS, LLC; EDWARD
 7    WHITE, Business Development Manager,
 8                          Defendants.
 9
10          Pending before the Court are Defendant ClearCaptions, LLC’s Motion to Continue Early

11   Neutral Evaluation (ECF No. 14) and Request for Exception to Early Neutral Evaluation Attendance

12   Requirement (ECF No. 15). As stated in the Motion to Continue the Early Neutral Evaluation, Judge

13   Brenda N. Weksler issued a Report and Recommendation on October 30, 2020, recommending this

14   matter be dismissed. ECF No. 13. The period to object to the Report and Recommendation will

15   expire on November 13, 2020. Defendant reasonably seeks a continuance of the November 19, 2020

16   Early Neutral Evaluation until such time as a final determination regarding dismissal is entered.

17          Based on the above this Court finds that the requested continuance is supported by good

18   cause. The Court further finds that appearance of Defendant’s representative may be by video

19   conference should the Early Neutral Evaluation be reset.

20          Accordingly, IT IS HEREBY ORDERED that Defendant’s Motion to Continue Early

21   Neutral Evaluation (ECF No. 14) is GRANTED.

22          IT IS FURTHER ORDERED that the Early Neutral Evaluation currently scheduled for

23   November 19, 2020 is VACATED until such time as a final determination regarding dismissal is

24   entered.

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 1         IT IS FURTHER ORDERED that Defendant’s Request for Exception to Early Neutral

 2   Evaluation Attendance Requirement (ECF No. 15) is GRANTED.

 3         Dated this 6th day of November, 2020

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                                              ELAYNA J. YOUCHAH
 6                                            UNITED STATES MAGISTRATE JUDGE
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